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    5                             UNITED STATES DISTRICT COURT
    6            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    7 J. N.,                                           No. 2:14-CV-02428-DDP-PLAx
    8                Plaintiff,                        JUDGMENT
    9                v.
   10 DETECTIVE HEATHER
      HENDRICKSON et al.,
   11
              Defendants.
   12
   13          THIS ACTION came on for trial before the Court and a jury, the Honorable
   14 Dean D. Pregerson, presiding. The issues having been duly tried, the jury having
   15 duly rendered its verdict, and the Defendant named below having been found liable
   16 on claims for violations of rights under 42 U.S.C. § 1983,
   17          IT IS ORDERED AND ADJUDGED:
   18          That judgment is entered in favor of the plaintiff, J. N., and against the
   19 defendant, Heather Hendrickson, for violations of rights under 42 U.S.C. § 1983, to
   20 recover the sum of $5,000,000, with interest thereon at the rate provided by law;
   21          That judgment is entered in favor of the plaintiff, J. N., and against the
   22 defendant, Heather Hendrickson, to recover punitive damages, in the sum of $5,000,
   23 with interest thereon at the rate provided by law.
   24          Any attorney fees or costs to be awarded to any party will be addressed in a
   25 separate order by the Court.
   26 DATED: March 28, 2017
   27                                                   HON. DEAN D. PREGERSON
                                                         United States District Judge
   28

        1 JUDGMENT
